     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 1 of 54



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE 1, Individually and on
 Behalf of All Others Similarly                 22-cv-10018 (JSR)
 Situated,

            Plaintiff,

      -v-

 DEUTSCHE BANK AKTIENGESELLSCHAFT,
 DEUTSCHE BANK AG NEW YORK BRANCH,
 DEUTSCHE   BANK   TRUST   COMPANY
 AMERICAS,

            Defendants.



 JANE DOE 1, Individually and on
 Behalf of All Others Similarly                 22-cv-10019 (JSR)
 Situated,

            Plaintiff,

      -v-

 JP MORGAN CHASE BANK, N.A.,

            Defendant.



 GOVERNMENT OF THE       UNITED   STATES        22-cv-10904 (JSR)
 VIRGIN ISLANDS,
                                                OPINION AND ORDER
            Plaintiff,

      -v-

 JP MORGAN CHASE BANK, N.A.,

            Defendant.



                                     1
          Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 2 of 54



JED S. RAKOFF, U.S.D.J.:

      The plaintiffs in these three related cases are two anonymous

women, referred to here as “JPM Jane Doe” and “DB Jane Doe,” and

the Government of the United States Virgin Islands (the “USVI”).

Plaintiffs claim that defendants JP Morgan Chase Bank, N.A. (“JP

Morgan”)         and     the     related      entities       Deutsche       Bank

Aktiengesellschaft, Deutsche Bank AG New York Branch, and Deutsche

Bank Trust Company Americas (collectively, “Deutsche Bank”) are

legally liable for their alleged facilitation of Jeffrey Epstein’s

sex crimes.

      On February 1, 2023, and February 7, 2023, defendants filed

motions to dismiss the operative complaints in each case. After

full consideration of the parties’ written submissions and oral

arguments, the Court granted those motions in part and denied those

motions in part by a “bottom-line order” dated March 20, 2023.

This Opinion reconfirms the Court’s rulings and explains the

reasoning behind them.

I.    Plaintiffs’ Allegations1




      1 In this Opinion, the First Amended Complaint in Jane Doe v. Deutsche
Bank Aktiengesellschaft et al., 22-cv-10018, is abbreviated as “DB Jane Doe
FAC”; that in Jane Doe v. JP Morgan Chase Bank, N.A., 22-cv-10019, is abbreviated
as “JPM Jane Doe FAC”; and that in Government of the United States Virgin
Islands v. JP Morgan Chase Bank, N.A., 22-cv-10904, is abbreviated as “USVI
FAC.” The JPM Jane Doe FAC incorporates by reference all allegations in the
USVI FAC. See JPM Dane Doe FAC, at 48 n. 1.


                                        2
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 3 of 54



  A. Jeffrey Epstein’s Sex-Trafficking Operation


       Plaintiffs allege that between 2006 and 2018, DB Jane Doe and

JPM Jane Doe were Jeffrey Epstein’s sex slaves. He raped them

repeatedly, and he sexually abused them in other ways as well. JPM

Jane Doe FAC, ¶ 99; DB Jane Doe FAC, ¶ 128. He kept them in his

thrall through a combination of promises, payments, and threats:

promises to advance their careers and educations, payments in cash

and in kind, and threats to destroy them if they did not obey his

demands. JPM Jane Doe FAC, ¶¶ 70, 96, 111; DB Jane Doe FAC, ¶ 139,

143.

       These   Jane   Does   were   not   alone.   Plaintiffs   allege   that

beginning in 1998 and continuing until 2019, over two decades

later, Epstein ran an organization that recruited hundreds of young

women and girls and coerced them into performing sex acts. JPM

Jane Doe FAC, ¶¶ 62, 67, 76; DB Jane Doe FAC, ¶¶ 39, 40, 88.

Typically, Epstein would lure a victim to one of his residences by

promising to grant a wish, would then pressure her into performing

massages that became increasingly sexual, and then would force her

to participate in sex acts on a continuing basis. JPM Jane Doe

FAC, ¶ 66; DB Jane Doe FAC, ¶ 107.

       Cash was the lifeblood of Epstein’s operation. Victims were

paid hundreds of dollars, in cash, each time Epstein abused them;

and they were also paid hundreds of dollars, in cash, for each




                                      3
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 4 of 54



additional victim that they recruited. JPM Jane Doe FAC, ¶¶ 66,

68; DB Jane Doe FAC, ¶¶ 52–53, 115. At times, plaintiffs allege,

Epstein dispensed thousands of dollars in cash every day to his

victims, amounting to, on average $200,000 per year. DB Jane Doe

FAC, ¶¶ 54, 280–81; USVI FAC, ¶ 80. Epstein could not have run his

operation, plaintiffs claim, without ready access to cash through

the banking system.


  B. JP Morgan’s Alleged Involvement


     JP Morgan began to serve as Jeffrey Epstein’s principal bank

as early as 1998. JPM Jane Doe FAC, ¶ 41; USVI FAC, ¶ 41.

Eventually, both Epstein and at least a dozen entities affiliated

with Epstein and his operation maintained bank accounts with JP

Morgan. USVI FAC, ¶ 27. These accounts, plaintiffs allege, were

highly lucrative for JP Morgan and essential to Jeffrey Epstein’s

sex-trafficking operation.

     Specifically, plaintiffs allege that JP Morgan supported

Epstein’s sex-trafficking operation in four different ways. First,

they allege that JP Morgan enabled Epstein to access the large

quantities of cash that fueled his operation. JPM Jane Doe FAC, ¶

45; USVI FAC, ¶ 103. Second, they allege that JP Morgan assisted

Epstein with “structuring” his cash withdrawals so as to elude

suspicion. JPM Jane Doe FAC, ¶ 179; USVI FAC, ¶ 67. Third,

plaintiffs allege that JP Morgan did not timely file suspicious



                                   4
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 5 of 54



activity reports (“SARs”) that would have alerted authorities to

Jeffrey Epstein’s sex-trafficking operation. JPM Jane Doe FAC, ¶¶

180-81; USVI FAC, ¶¶ 74-75. In particular, plaintiffs allege that

JP Morgan delayed filing SARs for “thousands of transactions . .

. totaling more than $1 billion, including payments to dozens of

women, often with Eastern European surnames.” USVI FAC, ¶ 75.

Finally, plaintiffs allege that a JP Morgan subsidiary, Highbridge

Capital Management, transported young women and girls from Florida

to Epstein in New York, on the company’s private jet. JPM Jane Doe

FAC, ¶ 170.

     According to the plaintiffs, by no later than 2006, JP Morgan

either actually knew or should have known that it was supporting

a sexual predator. JPM Jane Doe FAC, ¶¶ 190, 196. In 2006, police

reports and news articles revealed that Epstein had sexually abused

dozens of young women and girls. -
                                 Id-
                                     at 190. In 2008, Epstein pled

guilty   to   sex   offenses,   including   soliciting     a   minor   for

prostitution, and he registered as a sex offender. USVI FAC, ¶ 38.

Following Epstein’s guilty plea, dozens of public lawsuits were

filed against him, which included detailed accusations of his

sexual abuse of young women and girls. JPM Jane Doe FAC, ¶¶ 207-

209. While JP Morgan allegedly was aware of several of these

accusations, JP Morgan nonetheless continued to bank Epstein. USVI

FAC, ¶ 44.




                                   5
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 6 of 54



       After Epstein was released from prison, accusations that he

trafficked young women and girls continued to surface. Plaintiffs

allege that employees within JP Morgan would occasionally report

these accusations to their superiors and would ask whether JP

Morgan should maintain its relationship with Epstein. In 2010, for

example,     JP   Morgan’s    risk    management    division      discussed    new

allegations against Epstein: “See below new allegations of an

investigation      related    to     child   trafficking     –    are   you   still

comfortable with this client who is now a registered sex offender?”

USVI FAC, ¶ 45. In January 2011, JP Morgan’s director of anti-

money laundering compliance requested re-approval for the bank’s

relationship with Epstein from JP Morgan’s then-General Counsel

“in light of the new allegations of human trafficking . . .” Id.

at ¶ 46.

       And there were other alleged red flags. Epstein and/or his

associates are alleged to have made significant cash withdrawals

from JP Morgan accounts with no known payee. USVI FAC, ¶ 67. For

example, Hyperion Air, Inc. -- the Epstein-controlled company that

owned Epstein’s private jet -- issued over $547,000 in checks

payable to cash purportedly for “fuel expenses when traveling to

foreign countries.” Id. Additionally, JP Morgan accounts in the

name    of   Epstein’s     affiliated        charitable    organizations       made

payments     without   a   clear     connection    to     those   organizations’

charitable        purposes.    For      example,        Epstein     and/or      his


                                         6
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 7 of 54



representative     used    the   C.O.U.Q.     Foundation     account    to   pay

$29,464.66 to three young women, including two people known to be

Epstein’s victims. USVI FAC, ¶ 68.

      One final source of JP Morgan’s alleged knowledge is James

(“Jes”) Staley.2 Circa 2000, Mr. Staley headed JP Morgan’s private

banking division, and he began to service Epstein’s account. JPM

Jane Doe FAC, ¶ 131. Mr. Staley is alleged to have developed a

close personal friendship with Epstein. Indeed, Mr. Staley once

wrote to Epstein, “I deeply appreciate our friendship. I have few

so profound.” USVI FAC, ¶ 56. Later, while Epstein was still a JP

Morgan client, Mr. Staley was promoted to be CEO of JP Morgan Asset

Management.

      Plaintiffs allege that Mr. Staley had first-hand knowledge of

Jeffrey Epstein’s sex-trafficking operation. Mr. Staley is alleged

to have visited Epstein’s residences several times while that

operation was ongoing, and, during these visits, observed JPM Jane

Doe “as a sexual trafficking and abuse victim.” JPM Jane Doe FAC,

¶ 115. On December 5, 2009, one day after Mr. Staley visited

Epstein in New York, Epstein emailed Mr. Staley to say, “you were

with Larry, and I had to put up with . . .” and attached a picture

of a young woman in a sexually suggestive pose. USVI FAC, ¶ 58. On



      2 On March 8, 2023, JP Morgan impled Mr. Staley as a third-party defendant

in both cases against it. Mr. Staley did not participate in briefing and argument
on JP Morgan’s motion to dismiss. Mr. Staley’s own motion to dismiss JP Morgan’s
claims against him is currently sub judice.


                                       7
           Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 8 of 54



December 20, 2009, Epstein sent to Mr. Staley an email that

consisted entirely of a picture of a young woman. Id. at ¶ 59.

       Plaintiffs further allege that Mr. Staley himself abused some

of Epstein’s victims, including JPM Jane Doe herself. JPM Jane Doe

claims that “one of Epstein’s friends” -- whom she later identified

as Mr. Staley -- “used aggressive force in his sexual assault of

her and informed [JPM Jane Doe] that he had Epstein’s permission

to do what he wanted to her.” JPM Jane Doe FAC, ¶ 107.3 And the

USVI       asserts   that   it    possesses    email   correspondence      between

Epstein and Mr. Staley which suggests, albeit cryptically, that

Mr. Staley had sexual encounters while visiting Epstein. In July

2010, Mr. Staley emailed Epstein, “That was fun. Say hi to Snow

White.” To which Epstein responded: “[W]hat character would you

like next?” Mr. Staley answered: “Beauty and the Beast.” USVI FAC,

¶ 61.


  C. Deutsche Bank’s Alleged Involvement


       In 2013, a JP Morgan compliance officer terminated JP Morgan’s

relationship with Epstein. USVI FAC, ¶ 63. Epstein then went on

the market for a new bank.

       Shortly before then, Paul Morris, a banker with JP Morgan who

had     serviced      Epstein’s    accounts,    left   JP   Morgan   and    joined



       3Counsel for Jane Doe identified this executive as Jes Staley at oral
argument on JP Morgan’s motion to dismiss.


                                         8
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 9 of 54



Deutsche Bank. DB Jane Doe FAC, at ¶ 202. Mr. Morris suggested to

Deutsche Bank’s senior management that a relationship with Epstein

could be very lucrative: banking Epstein could generate millions

of dollars in fees, and it could also lead to further relationships

with Epstein’s wealthy friends. Id.

    Deutsche Bank took on Epstein as a client on August 19, 2013.

DB Jane Doe FAC, ¶ 210. Eventually, Epstein, his related entities,

and his associates opened and funded more than 40 accounts at

Deutsche Bank, which held more than $110 million in assets. Id.

at ¶ 210.

    DB Jane Doe alleges that Epstein used his Deutsche Bank

accounts much as he did his accounts with JP Morgan. He used them

to withdraw cash to pay off his victims and associates. Id. at ¶¶

52-53, 115. He solicited Deutsche Bank’s advice about how to

structure his withdrawals so as to evade notice. Id. at ¶¶ 229-

239. And he was shielded by Deutsche Bank’s failure to file

suspicious activity reports. Id. at ¶ 324.

    DB Jane Doe likewise alleges that Deutsche Bank either knew

or should have known that Epstein used his Deutsche Bank accounts

to power his sex-trafficking operation. In April 2013, after Mr.

Morris   proposed   taking   on   Epstein    as   a   client,   a   junior

relationship coordinator assigned to the Epstein account prepared

a memorandum which noted various risks posed by a relationship

with Jeffrey Epstein. This memorandum noted that “Epstein was


                                   9
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 10 of 54



charged with soliciting an underage prostitution [sic] in 2007,”

that “[h]e served 13 months out of his 18-month sentence,” and

that “[h]e was accused of paying young woman [sic] for massages

in his Florida home.” Id. at ¶ 52. Around the same time, a Deutsche

Bank    compliance    officer    performed   background    checks    on   the

beneficiaries of one of Epstein’s entities, the Butterfly Trust.

Id. at ¶ 216. This check revealed that one of the beneficiaries,

Sarah Kellen, was named as one of Epstein’s co-conspirators in a

related criminal case. Id.

       Once Deutsche Bank began to serve as Epstein’s bank, it

allegedly continued to receive red flags. Between 2014 and 2015,

DB’s     Anti-Financial     Crime    department    alerted    DB’s    senior

management to issues concerning Jeffrey Epstein’s sex trafficking.

DB Jane Doe FAC, ¶ 206. In May 2018, one of Deutsche Bank’s

compliance officers asked a relationship manager assigned to

Epstein’s account about payments to “accounts                of women with

Eastern European surnames at a Russian Bank.” An accountant at

Deutsche Bank, who was looped into the conversation, replied that

the money was “SENT TO A FRIEND FOR TUITION FOR SCHOOL.” Id. at ¶

226. The compliance officer did not ask any follow-up questions,

and the transaction was cleared. Id. at ¶ 227. And Epstein’s

personal attorney withdrew over $800,000 in cash on Epstein’s

behalf over a four-year period, on multiple occasions asking about

the maximum amount that could be withdrawn without triggering a


                                     10
        Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 11 of 54



reporting requirement. Id. at ¶¶ 231-32. The attorney’s only

explanation for these withdrawals was that Epstein needed cash

for travel, tipping, and expenses. Id.


  D. Plaintiffs’ Claims


      In total, plaintiffs assert 28 claims against the defendants.

Several of these claims are brought under the federal Trafficking

Victims Protection ACT (“TVPA”). Others assert violations of the

federal Racketeering Influenced            and   Corrupt Organizations Act

(“RICO”) and the USVI’s territorial-law analogue to RICO, the

Virgin Islands Criminally Influenced and Corrupt Organizations Act

(“CICO”). A final statutory claim alleges a violation of the Virgin

Islands     Consumer   Fraud   and   Deceptive     Business   Practices    Act

(“CFDBPA”). Plaintiffs assert a variety of state tort claims as

well.

II.   Discussion

      “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). In reviewing a motion to dismiss, the Court

“accept[s] the complaint's factual allegations as true and draw[s]

all reasonable inferences in the plaintiff's favor.” Brown Media

Corp. v. K&L Gates, LLP, 854 F.3d 150, 156–57 (2d Cir. 2017).


                                      11
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 12 of 54



     The Court begins by discussing three threshold issues that

could, potentially, bar multiple claims asserted by two of the

plaintiffs. It then discusses each surviving claim that defendants

seek to dismiss.


  A. Threshold Issues


     1. Release by Settlement Agreement

     On April 28, 2022, DB Jane Doe resolved her claims against

Jeffrey Epstein’s estate by signing a settlement agreement (the

“Settlement Agreement”). Deutsche Bank was not a party to this

agreement. Nonetheless, Deutsche Bank argues that it is a third-

party beneficiary of that agreement, and that, as such, it is

entitled under the terms of that agreement to dismissal of the

instant claims.

     The first issue raised by Deutsche Bank’s argument is whether

the Court may even entertain it at this juncture. Asserting that

a plaintiff’s claim is barred by agreement is an affirmative

defense, and affirmative defenses usually cannot be considered on

a motion to dismiss. See, e.g., Deckard v. Gen. Motors Corp., 307

F.3d 556, 560 (7th Cir. 2002) (“A motion to dismiss was improper

since release is an affirmative defense, and the existence of a

defense   does    not   undercut   the   adequacy    of   the   claim.”).

Nonetheless, this bar is not absolute. For example, the Court may

consider any affirmative defense that “appears on the face of the


                                   12
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 13 of 54



complaint.” Pani v. Empire Blue Cross Blue Shield, 152 F.3d 67, 74

(2d Cir. 1998). More generally, the Court retains discretion to

consider even at this early stage an affirmative defense that

presents a straightforward issue of law, such as a statute of

limitations defense where the relevant facts are not in dispute.

See, e.g., Harris v. City of New York, 186 F.3d 243, 250 (2d Cir.

1999).

     While the Settlement Agreement is not mentioned in DB Jane

Doe’s complaint, the Court finds nonetheless that Deutsche Bank’s

argument   is   appropriately     considered    at    this   stage.     The

authenticity of the Settlement Agreement is not disputed, and

neither party has suggested that extrinsic evidence would inform

the Court’s interpretation of it. Thus, Deutsche Bank’s argument

presents an unfettered question of law that can be resolved on a

motion to dismiss and should not be deferred. See Giuffre v.

Andrew, 579 F. Supp. 3d 429, 438 (S.D.N.Y. 2022) (considering a

similar settlement agreement on a motion to dismiss).

     Turning now to the merits of Deutsche Bank’s argument, the

Court first notes that this argument succeeds only if the parties

to the Settlement Agreement intended for Deutsche Bank to benefit

from it. See Port Chester Elec. Const. Co. v. Atlas, 357 N.E.2d

983, 985–86 (N.Y. 1976) (“It is old law that a third party may sue

as a beneficiary on a contract made for his benefit. However, an

intent to benefit the third party must be shown . . . .”); Suffolk


                                   13
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 14 of 54



Cnty. v. Long Island Lighting Co., 728 F.2d 52, 63 (2d Cir. 1984)

(“It is ancient law in New York that to succeed on a third party

beneficiary theory, a non-party must be the intended beneficiary

of the contract, not an incidental beneficiary to whom no duty is

owed.”); see also Restatement (Second) of Contracts § 302. In

general, such an intent can be found only when “the language of

the   contract   .   .   .   clearly   evidences   an   intent   to   permit

enforcement by the third party.” Fourth Ocean Putnam Corp. v.

Interstate Wrecking Co., 485 N.E.2d 208, 212 (N.Y. 1985).

      Deutsche Bank claims that the Settlement Agreement evidences

such an intent because it is styled a “broad release” of claims

against “any entities or individuals who are or have ever been

engaged by (whether as independent contractors or otherwise),

employed by, or worked in any capacity for” Jeffrey Epstein. See

Declaration of David B. Hennes in Supp. of Mot. to Dismiss, Ex. A

(“Settlement Agreement”), at p. 2. Since, Deutsche Bank argues, DB

Jane Doe’s own theory of her case is that Deutsche Bank was both

“engaged by” and in some sense “worked . . . for” Epstein, Deutsche

Bank is covered by the Settlement Agreement.4




      4 Deutsche Bank also argues that since the Epstein estate paid a large
amount of money -- $7.4 million -- to DB Jane Doe pursuant to the Settlement
Agreement, the Settlement Agreement was intended to resolve a broad class of
claims potentially asserted by DB Jane Doe, including claims against Deutsche
Bank. But this argument is sheer speculation at best and hardly sufficient to
meet the high standard for evidencing third-party beneficiary status.



                                       14
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 15 of 54



      But the terms “engaged by” and “worked . . . for” must be

read in the context of the agreement as a whole. And another

provision of the Settlement Agreement plainly indicates that it

was not intended to preclude claims against financial institutions

that provided services to Epstein. Specifically, the Settlement

Agreement states, “[T]he parties do not believe there is any

reasonable    interpretation      that    this    General    Release   could   be

construed to release James (“Jes”) Staley, Leon Black, or their

respective entity affiliations.” Settlement Agreement, at p. 4

(emphasis supplied). Jes Staley was employed by JP Morgan, which

provided financial services to Jeffrey Epstein. In effect, this

demonstrates the parties’ agreement that the Settlement Agreement

was   never     intended     to   release        claims     against    financial

institutions that provided services for Epstein and, indeed, could

not even be reasonably interpreted as such.5

      Read as a whole, therefore, the Settlement Agreement does not

“clearly evidence” an intent to benefit Deutsche Bank. Thus, the




      5 At oral argument, counsel for Deutsche Bank argued that the carve-out

for Jes Staley and JP Morgan should not be read to limit the Settlement
Agreement’s release as to other financial institutions, because Jes Staley had
a distinctive relationship with Jeffrey Epstein, as Epstein’s personal friend.
See Conference of Mar. 13, 2023, Tr. 10:2-7. But Mr. Staley’s alleged friendship
with Epstein does not undercut the significance of the parties’ statement about
the interpretation of the General Release. If Deutsche Bank’s interpretation of
the General Release were correct, it would presumptively bar claims against all
financial institutions that provided services to Epstein, whether linked to him
by personal friendship or not. The parties to the Settlement Agreement expressly
indicated that this interpretation would be unreasonable.


                                         15
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 16 of 54



Court finds that Deutsche Bank is not a third-party beneficiary of

that agreement, and DB Jane Doe’s claims are not barred by it.

      2. Parens Patriae Standing

      The next two threshold issues concern whether the USVI can

assert claims under the TVPA. The first such issue is whether the

USVI has standing to assert such claims.

      The USVI asserts that it has standing as parens patriae. There

can be no doubt that Congress intended to grant it such standing.

One section of the Trafficking Victims Protection Act, codified at

18 U.S.C. § 1595(d), reads:

      In any case in which the attorney general of a State has

      reason to believe that an interest of the residents of that

      State has been or is threatened or adversely affected by any

      person who violates section 1591, the attorney general of the

      State, as parens patriae, may bring a civil action against

      such person on behalf of the residents of the State in an

      appropriate district court of the United States to obtain

      appropriate relief. 18 U.S.C. § 1595(d).6

      Congress, however, does not have final word. Article III of

the   Constitution     has    been   interpreted     to    impose    distinct

requirements for standing to sue in federal court, and those

requirements are not “automatically” satisfied “whenever a statute


      6Emphasis supplied. In this section, “State” includes the USVI. 22 U.S.C.
§ 7102(13).


                                      16
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 17 of 54



grants a person a statutory right and purports to authorize that

person to sue to vindicate that right.” Spokeo, Inc. v. Robins,

578 U.S. 330, 341 (2016), as revised (May 24, 2016). To establish

Article III standing, any plaintiff must show (i) that he suffered

an injury in fact that is concrete, particularized, and actual or

imminent; (ii) that the injury was likely caused by the defendant;

and (iii) that the injury would likely be redressed by judicial

relief. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021).

States and territories that seek to sue parens patriae must also

(1) allege an injury to a quasi-sovereign interest that affects a

sufficiently substantial segment of its population and (2) seek

relief to the territory’s injury that would be unavailable to

individual plaintiffs. See Alfred L. Snapp & Son, Inc. v. P.R. ex

rel. Barez, 458 U.S. 592, 607 (1982). Nonetheless, even though

Congress’s creation of a statutory right of action does not settle

whether these requirements are satisfied, it is “instructive.”

Spokeo, 578 U.S. at 341. “Congress may elevate harms that exist in

the real world before Congress recognized them to actionable legal

status.” Id. (cleaned up).

     JP Morgan challenges the USVI’s parens patriae standing. It

argues, first, that to the extent that the USVI sues on behalf of

Epstein’s victims who resided in the USVI, that interest is not

“distinct from the interests of particular private parties” and

therefore cannot be a basis for parens patriae standing. Def’s


                                   17
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 18 of 54



Mem. of Law in Supp. of Mot. to Dismiss, at 6. But, second, to the

extent that the USVI seeks to vindicate a more generalized interest

-- such as an interest in “assuring its residents it will act to

protect them from the harmful effects of criminal sex-trafficking

enterprises flourishing in the Islands that are their home,” Mem.

of Law. in Opp. to Def’s Mot. to Dismiss, at pp. 9-10 -- this

interest,      JP    Morgan       says,     is    insufficiently    concrete    and

particularized.

       However,     JP    Morgan      overstates    the   second   objection.   The

USVI’s asserted interest in “assuring its residents it will act to

protect them from the harmful effects of criminal sex-trafficking

enterprises flourishing in the Islands that are their home” is

indeed    general    (as        all   interests    that   ground   parens   patriae

standing must be); but it directly parallels the interest that

Puerto Rico successfully asserted in Snapp, which was an interest

in “assuring its residents that it will act to protect them from

. . . the harmful effects of discrimination.” Snapp, 458 U.S. at

609.

       Indeed, the similarities between the interest asserted by the

USVI    here   and       that    asserted    by    Puerto   Rico   in   Snapp   are

considerable. Like the discrimination that was at stake in Snapp,

sex-trafficking is a problem that might well re-occur, especially

in a remote an isolated territory such as the USVI. Additionally,

sex-trafficking is a problem that the USVI would, if it could,


                                            18
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 19 of 54



“likely    attempt    to   address   through    its   sovereign    lawmaking

powers.” Snapp, 458 U.S. at 607.

     Snapp remains a leading case -- perhaps the leading case --

on parens patriae standing. Since the interest asserted by the

USVI here is directly analogous to the interest that provided

parens    patriae    standing   in   Snapp,   the   USVI   has   Article   III

standing.

     3. Retroactivity of 18 U.S.C. § 1595(d)

     The last threshold issue, which similarly affects whether the

USVI can assert a TVPA claim, is whether the applicable statutory

provision, 18 U.S.C. § 1595(d) applies retroactively. While the

statute providing a federal civil remedy for victims of sex

trafficking, 18 U.S.C. § 1595, was mostly enacted in 2003, the

“parens patriae” subdivision, section 1595(d), was not added until

2018, approximately five years after JP Morgan terminated its

relationship with Jeffrey Epstein. JP Morgan argues that Section

1595(d) does not apply retroactively and, therefore, does not

provide the USVI with a right to assert the parens patriae TVPA

claim alleged in the USVI’s complaint.

     As a general matter, federal courts apply a two-prong test to

determine whether statutes apply retroactively. Landgraf v. USI

Film Prods., 511 U.S. 244, 280 (1994); Velez v. Sanchez, 693 F.3d

308, 324-25 (2d Cir. 2012). The first step is to ask “whether

Congress has expressly prescribed the statute’s proper reach.”


                                      19
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 20 of 54



Landgraf, 511 U.S. at 280; Velez, 693 F.3d at 325. If Congress is

silent, a court must ask “whether [the statute] would impair rights

a party possessed when he acted, increase a party's liability for

past conduct, or impose new duties with respect to transactions

already completed.” Landgraf, 511 U.S. at 280; Velez, 693 F.3d at

325.

       Since Congress did not expressly indicate whether section

1595(d) applies retroactively, the precise issue before the Court

is whether section 1595(d) increased parties’ liabilities for past

conduct to such an extent that it does not apply retroactively. To

address that question, the Court must consider whether section

1595(d) so greatly increased the likelihood that defendants would

face suit that it is equivalent to a new cause of action. Section

1595(d) does not, in itself, impose any legal liability; it merely

allows a new group of people -- state attorneys general -- to

vindicate liabilities that already existed. Cf. Hughes Aircraft

Co.    v.   U.S.    ex    rel.   Schumer,    520    U.S.   939,   950   (1997),

(distinguishing a statute that “essentially creates a new cause of

action” from one that creates “an increased likelihood that an

existing    cause    of   action   will     be   pursued”).   Nonetheless,   by

conferring a right of action on “an expanded universe of plaintiffs

with different incentives,” id. at 950, a statute can so greatly

increase the likelihood of suit that it is functionally equivalent

to a new cause of action. Determining whether a statute does this


                                       20
         Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 21 of 54



demands “a commonsense, functional judgment about whether the new

provision attaches new legal consequences to events completed

before its enactment.” I.N.S. v. St. Cyr, 533 U.S. 289, 321 (2001)

(cleaned up). The Court’s judgment should be guided by “familiar

considerations of fair notice, reasonable reliance, and settled

expectations.” Martin v. Hadix, 527 U.S. 343, 345 (1999).

         Applying this standard, the Court finds that section 1595(d)

applies retroactively. State attorneys general do indeed have

somewhat different incentives to bring suit than private citizens;

presumably, that is one reason why Congress added section 1595(d).

So there likely will be some cases in which a state attorney

general files a civil action under the TVPA even though individual

victims of human trafficking would not.

         But section 1595(d) only authorizes state attorneys general

to vindicate the interests of their individual residents, acting

as   parens     patriae.    This   limits    the   incremental   exposure    of

defendants in two ways. First, section 1595(d) confers a right of

action on only a small number of new plaintiffs in each case: the

attorneys general of each state whose residents have been harmed

by   a     particular    sex   trafficking    venture.   Second,    and     more

important, the quasi-sovereign interests that give states standing

to sue under section 1595(d) are tied to injuries that would give

individual plaintiffs a right to sue under section 1595(a). For




                                       21
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 22 of 54



both of these reasons, section 1595(d) increases the likelihood of

suit to a relatively small degree.

     A comparison to the facts of Hughes is instructive. Hughes

considered the inverse of the facts presented here. Prior to a

1986 amendment, the False Claims Act did not permit private

relators to sue on behalf of the Government when their suits were

based on information already in the Government’s possession. Id.

at 941. (The Government, by contrast, could sue on its own behalf.)

A 1986 amendment eliminated that precondition for private parties

to sue. Thus, the 1986 amendment to the False Claims Act enabled

countless private parties to sue under circumstances in which,

previously, only the Government could sue. The statutory amendment

considered in Hughes, therefore, expanded the likelihood of suit

dramatically.

     The Second Circuit’s decision in Velez is not to the contrary.

In Velez, the Second Circuit rejected a plaintiff’s claim that the

TVPA’s private right of action -- 18 U.S.C. § 1595(a) -- applies

retroactively. Applying this right of action retroactively, the

Second Circuit held, would “represent[] a significant expansion of

civil liability.” Velez, 693 F.3d at 325; see also Hughes, 520

U.S. at 939 (“The extension of an FCA cause of action to private

parties   in    circumstances   where    the   action    was   previously

foreclosed . . . essentially creates a new cause of action . . .

.”); Doe v. Siddig, 810 F.Supp.2d 127, 135 (D.D.C.2011) (rejecting


                                   22
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 23 of 54



the retroactive applicability of 18 U.S.C. § 1595(a) because it

“represented a significant expansion of civil liability”).

     But there is a crucial difference between Velez and the USVI’s

claim against JP Morgan. Before Congress established a private

right of action under the TVPA, the TVPA was a purely criminal

statute. Thus, when Congress added a private right of action to

the TVPA in 2003, it added civil liability to a statute that

previously only imposed criminal sanctions. That act did indeed

“represent a significant expansion of civil liability.” Velez, 693

F.3d at 325. By contrast, in 2018, when Congress empowered state

attorneys general to assert TVPA claims, it merely gave a new set

of plaintiffs the right to vindicate potential liabilities which

already existed. Put another way, 18 U.S.C § 1595(d) did not expand

any party’s liability; it merely made it more likely that such

liability would actually be assessed. Cf. Hughes, 520 U.S. at 950

(distinguishing a statute that “essentially creates a new cause of

action” from one that creates “an increased likelihood that an

existing cause of action will be pursued”). Velez, therefore, does

not control.


  B. TVPA Participation Liability


     Having disposed of these threshold issues, the Court now turns

to the plaintiffs’ individual claims. Each plaintiff claims that

JP Morgan or Deutsche Bank participated in Jeffrey Epstein’s sex-



                                   23
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 24 of 54



trafficking venture, in violation of 18 U.S.C. § 1591(a)(2). This

claim involves three elements. First, the defendant must have

participated in a commercial sex trafficking venture. Second, the

defendant must have known (or recklessly disregarded) that force,

fraud, or coercion would be used in the sex-trafficking venture.

Finally, the defendant must have benefited from its participation

in the venture.

  1. Participation

       JP    Morgan        and    Deutsche    Bank        argue    that     they    did    not

participate in Jeffrey Epstein’s sex-trafficking venture because

they merely provided their usual banking services to him and his

affiliated      entities.          That,     they       contend,    is     not    enough    to

“participate”         in    the    venture        under    the     TVPA.       Participation

requires “specific conduct that furthered the sex trafficking

venture,” Noble v. Weinstein, 335 F. Supp. 3d 504, 524 (S.D.N.Y.

2018) -- “more than just passive facilitation, but some level of

active engagement.” G.G. v. Salesforce.com, 603 F. Supp. 3d 626,

644 (N.D. Ill. 2022). Simply providing their usual services,

defendants     say,        does    not     rise    to    the   level      of     such   active

engagement. See Geiss v. Weinstein Co. Holdings LLC, 383 F. Supp.

3d 156, 169 (S.D.N.Y. 2019); Salesforce.com, 603 F. Supp. 3d at

648.

       But    even     if        participation          requires     such        engagement,

plaintiffs adequately allege that defendants so participated in


                                              24
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 25 of 54



Jeffrey Epstein’s sex-trafficking venture. JPM Jane Doe and the

USVI allege, inter alia, that JP Morgan assisted with “structuring”

cash    withdrawals     so   that    those     withdrawals    would    not   appear

suspicious. JPM Jane Doe FAC, ¶¶ 179, 189. They allege that JP

Morgan       delayed   filing     suspicious    activity     reports   concerning

Epstein’s activities. Id. at ¶¶ 180-81; USVI FAC, ¶¶ 74-75. And

they allege that JP Morgan actually trafficked women and girls for

Jeffrey Epstein through its subsidiary, Highbridge. JPM Jane Doe

FAC, ¶¶ 170, 176.

        Similarly, DB Jane Doe alleges that Deutsche Bank “concealed

its delivery of hundreds of thousands of dollars in cash to Epstein

and    his    associates”    by    willfully     failing   to   file   suspicious

activity reports, DB Jane Doe FAC, ¶ 324; that DB “structured” 97

cash withdrawals by Epstein’s co-conspirators in the amount of

$7,500 per withdrawal to avoid alerting authorities, id. at ¶ 337;

that Deutsche Bank failed to implement oversight imposed by its

Americas Reputational Risk Committee, id. at ¶ 325; and that

Deutsche Bank allowed Epstein to use its accounts “to send dozens

of wires, directly and indirectly, including at least 18 wires in

the amount of $10,000 or more to then known co-conspirators.” Id.

at ¶¶ 212-13. Moreover, even the cash that DB provided to Epstein,

DB Jane Doe alleges, was unusual. Id. at ¶ 320 (“It was far from

routine for Deutsche Bank to provide $200,000 per year in cash to

someone like Epstein, who did not have an apparent need for such


                                         25
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 26 of 54



extravagant sums. Moreover, the circumstances in which Epstein was

requesting such large amounts were far from routine and raised

numerous     ‘red    flags’—taking        it    well     outside      routine

circumstances.”).

     In short, plaintiffs allege that both JP Morgan and Deutsche

Bank went well beyond merely providing their usual services to

Jeffrey Epstein and his affiliated entities. Thus, even if it is

true that “active participation” in a sex-trafficking venture

requires some special tailoring of one’s services to that venture,

plaintiffs plausibly plead that this element of participation

liability is satisfied.

     2. Knowledge

     The second element of participation liability under the TVPA

is knowledge. The defendant must either have known, or recklessly

disregarded the fact that, “force, fraud, or coercion” was used to

“cause [a] person to engage in a commercial sex act.” 18 U.S.C. §

1591(a)(2).7   To   satisfy   this   element,   it     not   enough   for   the

defendant to have “only an abstract awareness of sex trafficking

in general.” S.J. v. Choice Hotels Int’l, Inc., 473 F. Supp. 3d

147, 154 (E.D.N.Y. 2020). Instead, the defendant must have known,

or recklessly disregarded, that force, fraud, or coercion was used




     7  This particular knowledge is only necessary in the case of an adult
victim. See 18 U.S.C. § 1591(a)(2).


                                     26
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 27 of 54



in the particular sex-trafficking venture that it is alleged to

have participated in. Id.

     Defendants        argue   that    even    more     specific     knowledge     is

necessary. They say that they can be held liable only if they knew

that force, fraud, or coercion was used with respect to the

plaintiff herself. It is true that some courts appear to have taken

this position in the past. See, e.g., Salesforce.com, 603 F. Supp.

3d at 646 (“[A] claim under [Section] 1595 requires that ‘the

defendant must have either actual or constructive knowledge that

the venture—in which it voluntarily participated and from which it

knowingly        benefited—violated          [Section       1591]    as    to     the

plaintiff.”); Lundstrom v. Choice Hotels Int’l Inc., 2021 WL

5579117,    at    *8   (D.   Colo.    Nov.    30,   2021)    (failure     to   allege

defendant “should have known about plaintiff’s sex trafficking at

its hotels”); A.B. v. Hilton Worldwide Holdings, Inc., 484 F. Supp.

3d 921, 938-39 (D. Or. 2020) (failure to “allege[] facts which

sufficiently link notice of Plaintiff[’s] sex trafficking to any

of these Defendants”). But those decisions do not control this

Court, and defendants do not cite to any element of either the

text or the legislative history of 18 U.S.C. § 1591(a)(2) that

supports this interpretation.

     Instead, the text of section 1591(a)(2) directly supports the

plaintiffs’ interpretation of the knowledge element of their TVPA

claims.     Section     1591(a)(2)      imposes     liability       for   knowingly


                                         27
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 28 of 54



benefiting from “participating in” a sex-trafficking venture. A

sex-trafficking venture, in turn, is defined as a venture that has

“recruit[ed], entic[ed], harbor[ed], transport[ed], provid[ed],

obtain[ed],      advertise[d],       maintain[ed],           patronize[ed],           or

solicit[ed] by any means a person” that uses “force, threats of

force, fraud, coercion . . . or any combination of such means” to

“cause the person to engage in a commercial sex act.” 18 U.S.C. §

1591(a). By the express terms of the statute, then, liability is

imposed for knowingly benefiting from participation in a sex-

trafficking venture, not for knowingly benefiting from the sex-

trafficking    of   a   particular    person.        Knowledge,       therefore,      is

required with respect to the venture, not with respect to any

particular person.

       Plaintiffs   have    pled   sufficient        facts     to    support    their

allegations that JP Morgan had such knowledge of Jeffrey Epstein’s

sex-trafficking      venture,      either      directly      or      by   recklessly

disregarding what was plainly to be seen. As detailed above,

plaintiffs allege that JP Morgan was aware of Epstein’s convictions

for sex crimes and ignored numerous red flags associated with

Epstein’s    accounts,     which   all    suggested     that        Jeffrey   Epstein

operated a sex-trafficking venture. Even these allegations alone

are sufficient to support plaintiffs’ allegations that JP Morgan

knew   or   recklessly     disregarded        that   Epstein      operated     such    a

venture.


                                         28
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 29 of 54



      But there is more, such as Jes Staley’s alleged personal

knowledge of Epstein’s sex-trafficking venture. “[W]hen an agent

is employed to perform certain duties for his principal and

acquires knowledge material to those duties, the agent's knowledge

is imputed to the principal.” Apollo Fuel Oil v. United States,

195 F.3d 74, 76 (2d Cir. 1999).8 When Epstein was JP Morgan’s

client, Mr. Staley was one of JP Morgan’s high-level executives,

and his duties included overseeing Epstein’s account. USVI FAC, ¶

84. And if the allegations in plaintiffs’ complaints are taken as

true, Mr. Staley had actual first-hand knowledge that Epstein

conducted a sex-trafficking venture. In fact, JPM Jane Doe alleges

that Mr. Staley observed her specifically “as a sexual trafficking

and abuse victim.” FAC, ¶ 115. Through attribution of Mr. Staley’s

alleged knowledge to JP Morgan, the complaints might well support

an allegation that JP Morgan actually knew that Jeffrey Epstein

ran a sex-trafficking venture. At the very least, they sufficiently

support    plaintiffs’     allegation      that    JP   Morgan    recklessly

disregarded the existence of such a venture.

      DB Jane Doe also pleads sufficient facts to support her

allegation that Deutsche Bank knew or recklessly disregarded that

Jeffrey Epstein ran a sex-trafficking venture. Before Epstein was


      8 JP Morgan argues that Mr. Staley’s knowledge cannot be attributed to JP

Morgan because he acquired it outside the scope of his employment. Def’s Mem.
of Law in Supp. of Mot. to Dismiss, 4-5. For attribution of knowledge, however,
what matters is whether Mr. Staley’s knowledge was material to his duties as an
employee, not how he came to that knowledge.


                                      29
        Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 30 of 54



onboarded at Deutsche Bank, DB Jane Doe alleges, Epstein was

convicted of soliciting a minor for prostitution. DB Jane Doe FAC,

¶¶ 42-43, 279. Then, in November 2012, Paul Morris joined Deutsche

Bank from JP Morgan, where he had been a member of the team that

serviced Epstein’s account, he and brought to DB his knowledge of

Epstein’s affairs. Id. at ¶ 201. Thereafter, beginning around

November 2013, Epstein began using Deutsche Bank accounts to send

wire transfers to collaborators in his sex-trafficking operation,

whose names and alleged collaborative activity had by then been

made public. Id. at ¶¶ 212-16. Not much after that, in 2014 and

2015,     an   internal    department        within   Deutsche   Bank   alerted

management about Epstein’s sex trafficking. Id. at ¶ 231. And a

Deutsche Bank executive is alleged to have met with Epstein and to

have observed victims in Epstein’s home. Id. at ¶¶ 235-36. If taken

as true, and viewed in a light most favorably to DB Jane Doe, these

allegations make it plausible that Deutsche Bank knew of, or

recklessly disregarded, Jeffrey Epstein’s sex-trafficking venture.

     Thus, the Court finds that the plaintiffs have pled sufficient

facts to support their allegations that JP Morgan and Deutsche

Bank knew or recklessly disregarded that Jeffrey Epstein conducted

a sex-trafficking venture.

     3. Benefit

     The last element of liability for participating in a sex-

trafficking venture is that the defendant benefited from its


                                        30
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 31 of 54



participation. JP Morgan and Deutsche Bank do not contest that

they received fees and other revenue from providing services to

Jeffrey Epstein and his affiliated entities. But they both assert

that the mere receipt of revenue does not satisfy the benefit

requirement. Instead, they say, plaintiffs must allege that they

received revenue from Jeffrey Epstein and his affiliated entities

in exchange for their furtherance of Epstein’s sex-trafficking

venture. See Geiss v. Weinstein Co. Holdings LLC, 383 F. Supp. 3d

156, 169 (S.D.N.Y. 2019) (“[T]here must be a causal relationship

between affirmative conduct furthering the sex-trafficking venture

and receipt of a benefit.”).

      Although the Court is not convinced that the benefit element

should be read in this way, even assuming arguendo that defendants

are   correct,    the   plaintiffs    have    here   offered    sufficient

allegations to satisfy this element. Indeed, JPM Jane Doe expressly

alleges that JP Morgan chose to ignore warnings that Epstein was

involved in sex-trafficking because JP Morgan understood that it

would lose a lot of money if it fired Epstein as client. JPM Jane

Doe FAC ¶¶ 152, 173, 214. JPM Jane Doe also alleges that JP Morgan

executives specifically lobbied to keep Epstein as a client despite

reports of sex-trafficking JP Morgan’s relationship with Epstein

was lucrative. Id. at ¶¶ 132–33, 161, 172, 184, 213–14.

      DB Jane Doe makes similar allegations against Deutsche Bank.

DB Jane Doe alleges that Deutsche Bank overlooked warnings that


                                     31
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 32 of 54



Epstein was involved in sex-trafficking because of the “number of

sizable deals” that DB obtained through its relationship with

Jeffrey Epstein. DB Jane Doe FAC, ¶ 243. DB Jane Doe also alleges

that Paul Morris proposed that DB establish accounts for entities

affiliated    with   Jeffrey     Epstein,    not     personal    accounts    in

Epstein’s    name,   to   help   conceal    both    DB’s     participation    in

Epstein’s    sex-trafficking     venture    and    the     existence   of   that

venture. Id. at ¶¶ 205, 243. Like plaintiffs’ allegations against

JP Morgan, these allegations make it plausible that Deutsche Bank

knowingly    benefited    from    furthering       Jeffrey    Epstein’s     sex-

trafficking venture.

     4. Conclusion

     In short, the allegations in the complaints, if taken as true

and viewed in a light most favorable to the plaintiffs, plausibly

support each element of plaintiffs’ claims under 18 U.S.C. §

1591(a)(2). Accordingly, defendants’ motions to dismiss these

claims are denied.


  C. Liability for Obstructing TVPA Enforcement


     JPM Jane Doe and DB Jane Doe also allege that JP Morgan and

Deutsche Bank obstructed the enforcement of the TVPA. 18 U.S.C. §

1591(d) makes it unlawful to “obstruct[], attempt[] to obstruct,

or in any way interfere[] with or prevent[] the enforcement of” 18

U.S.C. § 1591(d). For a defendant to be liable for obstructing the


                                     32
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 33 of 54



enforcement of the TVPA, it must (1) know of an effort to enforce

the TVPA and (2) intentionally obstruct or attempt to obstruct

that enforcement effort. See United States v. Farah, 766 F.3d 599,

612 (6th Cir. 2014). Plaintiffs allege that JP Morgan and Deutsche

Bank obstructed the enforcement of the TVPA by, among other things,

failing to file suspicious activity reports that would have alerted

authorities to Epstein’s sex-trafficking venture. JPM Jane Doe

FAC, ¶¶ 476-79; DB Jane Doe FAC, ¶¶ 449-52.

      As an initial matter, defendants argue that JPM Jane Doe and

DB Jane Doe have no right to assert obstruction claims. The TVPA’s

“civil remedy,” 18 U.S.C. § 1595(a), only provides a right of

action to a “victim” of a violation of the TVPA.              18 U.S.C. §

1595(a). And defendants argue that JPM Jane Doe and DB Jane Doe

are not the victims of any obstruction of an enforcement effort.

The   only   victim   of   such   an   action,   defendants   say,   is   the

government that makes such an effort. See Doe v. Fitzgerald, 2022

WL 425016, at *4 (C.D. Cal. Jan. 6, 2022) (“The ‘victim’ of the

obstruction of enforcement set out in section 1591(d) is the state

or federal government[.]”). Thus, defendants say, the Jane Does do

not have a right to assert their obstruction claims.

      The statute cannot be read in this cramped fashion. While 18

U.S.C. § 1595(a) does not define “victim,” a different section of

the federal criminal code -- which establishes criminal procedure

that is generally applicable across federal crimes -- defines a


                                       33
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 34 of 54



“crime victim” as “a person directly and proximately harmed as a

result of the commission of a Federal offense.” 18 U.S.C. §

3771(e)(2)(A); see also 18 U.S.C. § 10608(e)(2) (defining a victim

as “a person that has suffered direct physical, emotional, or

pecuniary harm as a result of the commission of a crime”). This

definition accords with ordinary usage, which recognizes as a

victim “one that is injured, destroyed, or sacrificed under any of

various   conditions.”      Victim,     Merriam-Webster’s      Collegiate

Dictionary (10th ed.). Thus, the “victims” of one who obstructs

the enforcement of the TVPA include not just the government, but

also include those who suffered harm because the government’s

enforcement efforts were hindered.

     Turning now to the merits of plaintiffs’ claims, the Court

finds that the plaintiffs plead sufficient facts to support their

obstruction claims. JPM Jane Doe and DB Jane Doe allege that JP

Morgan and Deutsche Bank, respectively, knew of investigations

into Jeffrey Epstein’s sex-trafficking operation and that they

intentionally failed to file suspicious activity reports in order

to frustrate such investigations. JPM Jane Doe FAC, ¶¶ 187, 224,

296, 356, 368, 397, 432, 438–40; DB Jane Doe FAC, ¶¶ 42–46, 60–

63, 188–99, 212–13, 445–48. Thus, the Court denies defendants’

motions to dismiss plaintiffs’ obstruction claims.




                                   34
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 35 of 54



  D. TVPA Perpetrator Liability


     Plaintiffs’      allegations        that   defendants        themselves

perpetrated   sex-trafficking       are    another     matter.    A   direct

perpetrator of sex trafficking is someone who knowingly “recruits,

entices,   harbors,   transports,    provides,       obtains,    advertises,

maintains, patronizes, or solicits” an underage person to engage

in a commercial sex act or does the same to an adult by means of

force, fraud, or coercion. 18 U.S.C. § 1591(a)(1). Plaintiffs’

allegations do not adequately allege that either JP Morgan or

Deutsche Bank did so.

     DB Jane Doe claims that Deutsche Bank’s cash “was part of the

‘recruitment’ of Jane Doe and other victims.” Pl.’s Mem. in Oppo.

to Def.’s Mot. to Dismiss, at 21. The alleged facts that Epstein

used cash obtained from Deutsche Bank to recruit his victims, and

that Deutsche Bank recklessly disregarded that he was so doing,

might jointly render Deutsche Bank liable for participating in

Epstein’s venture (see above). But they do not make Deutsche Bank

the recruiter.

     JPM Jane Doe’s allegations are a little more on point, but

still not sufficient. JPM Jane Doe alleges that JP Morgan directly

perpetrated sex-trafficking in two ways. First, she alleges that

“a powerful financial executive” at JP Morgan (later identified as

Jes Staley) sexually assaulted JPM Jane Doe. Second, JPM Jane Doe




                                    35
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 36 of 54



alleges that JP Morgan’s subsidiary, Highbridge, transported some

of the victims of Jeffrey Epstein’s sex-trafficking venture. But

even if Mr. Staley’s actions are attributable to JP Morgan, those

actions do not support a perpetrator claim, because the TVPA does

not impose liability for sexual assault per se (a classic state

crime), but also requires the additional elements described above.

See 18 U.S.C. § 1591(a)(1).      And JPM Jane Doe’s complaint does not

allege that JP Morgan knew that the women and girls allegedly

transported by Highbridge would be caused to engage in a commercial

sex   act,   which   is   likewise   an   essential   element   of   a   TVPA

perpetrator claim. See 18 U.S.C. § 1591(a).

      Since plaintiffs’ allegations do not state all the elements

of claims for perpetrating a violation of the TVPA, defendants’

motions to dismiss these claims are granted.


  E. Aiding and Abetting a Violation of the TVPA


      JPM Jane Doe and DB Jane Doe also allege that JP Morgan and

Deutsche Bank, even if they were not themselves perpetrators, aided

and abetted Jeffrey Epstein’s violations of 18 U.S.C. § 1591(a).

They support this claim with the following train of logic. First,

Jeffrey Epstein violated 18 U.S.C. § 1591(a) through his direct

acts of sex-trafficking. Second, 18 U.S.C. § 2 makes anyone

criminally “punishable as a principal” if they aid or abet the

commission of an offense against the United States. Finally, 18



                                     36
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 37 of 54



U.S.C. § 1595(a) provides a “civil remedy” to victims of the TVPA.

It states: “An individual who is a victim of a violation of this

chapter may bring a civil action against the perpetrator (or

whoever knowingly benefits, financially or by receiving anything

of value from participation in a venture which that person knew or

should have known has engaged in an act in violation of this

chapter) in an appropriate district court of the United States”

(emphasis supplied). In other words, plaintiffs contend that 18

U.S.C. § 2 (a criminal statute) is incorporated within the civil

remedy provision of the TVPA. Since principals are subject to civil

liability when they violate 18 U.S.C. § 1591(a), and 18 U.S.C. §

2 puts aiders and abettors in an equivalent criminal position to

principals,   plaintiffs   contend      that   aiders   and   abettors   are

subject to civil liability under 18 U.S.C. § 1595(a).

     Plaintiffs’ claims thus hinge on a question of law: whether

the “civil remedy” provided by 18 U.S.C. § 1595(a) enables sex-

trafficking victims to pursue claims for aiding and abetting. The

parties take opposing positions. Defendants argue that section

1595(a)’s civil remedy does not apply, because aiding and abetting

liability is provided by 18 U.S.C. § 2, which is not within “this

chapter” (i.e., the TVPA: 18 U.S.C. § 1581 et seq.). See Noble,

335 F. Supp. 3d at 525-526 (rejecting aiding and abetting liability

under the TVPA). Plaintiffs, meanwhile, contend that 18 U.S.C. §

2 is incorporated within the TVPA.


                                   37
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 38 of 54



     The defendants are correct: The TVPA does not provide civil

liability for aiding and abetting. In general, aiding and abetting

liability should not be inferred when a statute does not expressly

provide for it. See Cent. Bank of Denver, N.A. v. First Interstate

Bank of Denver, N.A., 511 U.S. 164, 185 (1994) (“it is not

plausible to interpret the statutory silence as tantamount to an

implicit congressional intent to impose § 10(b) aiding and abetting

liability.”).      Moreover,    neither     the   text   nor       the   legislative

history of the TVPA indicates that Congress intended to provide

civil liability for aiding and abetting a violation of it. In fact,

some aspects of the TVPA’s legislative history suggests that

Congress     had   the    opposite    intention:     Congress            specifically

rejected defining “participation in a venture” -- which would

entail civil liability -- so as to include aiding and abetting.

Compare Allow States and Victims to Fight Online Sex Trafficking

Act of 2017, Pub. L. No. 115-164, § 5, 132 Stat. 1253, 1255 (2018)

(rejecting    definition       of   “participation       in    a    venture”       that

included   “aids     or   abets”)    with    H.R.   1865,      115th       Cong.    (as

introduced in House, April 3, 2017) (bill draft proposing “aids or

abets” in definition of participation in a venture).

     A comparison to Rothstein v. UBS AG is instructive. See

Rothstein v. UBS AG, 708 F.3d 82 (2d Cir. 2013). In Rothstein, the

Second Circuit considered this issue as presented by a similar

statute, the Anti-Terrorism Act. The Anti-Terrorism Act, like the


                                       38
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 39 of 54



Trafficking Victims Protection Act, is a largely criminal statute

that also provides a civil remedy for violations of it. See 18

U.S.C. § 2333(a) (providing a private right of action). Also like

the Trafficking Victims Protection Act, the civil remedy provision

of the Anti-Terrorism Act does not expressly provide liability for

aiding or abetting, but the Act is codified in Title 18 of the

United States Code, section 2 of which makes any aider or abettor

“punishable as a principal.” In Rothstein, the Second Circuit held

that 18 U.S.C. § 2333 does not provide a right of action to assert

claims for aiding and abetting. Rothstein, 708 F.3d at 97-98.

     Rothstein’s holding was supported by two premises. The court

noted Central Bank’s general presumption that aiding and abetting

liability should not be inferred from statutory silence. Id. at

97. And the court also noted that other provisions of the ATA --

sections that surround its civil remedy provision -- do provide

for aiding and abetting liability. Id. at 98. That context, the

court found, suggested that Congress affirmatively rejected aiding

civil liability for aiding and abetting a violation of the ATA.

     So too for the TVPA. There is a presumption that aiding and

abetting liability should not be read into section 1595’s silence,

a presumption that is confirmed by its legislative history. Since,

therefore, the TVPA does not provide civil liability for aiding

and abetting under section 2, plaintiffs’ aiding and abetting

claims are dismissed.


                                   39
        Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 40 of 54



  F. Attempting to Benefit from a TVPA Violation


     Plaintiffs also allege that JP Morgan and Deutsche Bank

attempted to benefit from a TVPA violation. A defendant is liable

for attempting to violate the law only if they have the specific

intent to commit the underlying violation of the law. United States

v. Farhane, 634 F.3d 127, 145 (2d Cir. 2011). But the complaints

here do not plead facts that support the inference that either JP

Morgan or Deutsche Bank had this specific intention. If taken as

true,    plaintiffs’      allegations    do   support   the   inference    that

Deutsche     Bank   and   JP   Morgan   intended   to   profit   from      their

relationships with Jeffrey Epstein, and that accomplishing that

object required JP Morgan and Deutsche Bank to provide banking

services that allegedly, they knew, or recklessly disregarded,

supported     Jeffrey     Epstein’s   sex-trafficking     venture.   But    the

complaints do not support the allegation that either JP Morgan or

Deutsche Bank acted with the specific intent of benefiting from a

sex-trafficking venture. Thus, plaintiffs’ claims for attempting

to violate the TPVA are dismissed.


  G. Conspiracy to Violate the TVPA


     Finally, plaintiffs allege that JP Morgan and Deutsche Bank

conspired with Epstein and others to violate the TVPA. “The gist

of conspiracy is, of course, agreement.” United States v. Beech–

Nut Nutrition Corp., 871 F.2d 1181, 1191 (2d Cir. 1989). To be


                                        40
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 41 of 54



liable, each defendant must have “entered into a joint enterprise

with consciousness of its general nature and extent.” United States

v. Alessi, 638 F.2d 466, 473 (2d Cir. 1980). Plaintiffs’ factual

allegations do not support the inference that either defendant

made such an agreement. If the allegations in the complaints are

taken as true, the defendants did indeed agree to provide banking

services for Epstein and his affiliated entities and that they

knew, or recklessly disregarded, would assist his sex-trafficking

venture. But that agreement is different from an actual agreement

to    participate   in   a    sex-trafficking     venture.   Plaintiffs     also

allege that the defendants covered up Epstein’s sex-trafficking by

willfully      failing   to    file   suspicious     activity   reports.    But

plaintiffs do not plead any facts which support the inference that

the defendants did so pursuant to an agreement with Epstein and/or

others to further his sex-trafficking operation. Thus, plaintiffs’

conspiracy claims are dismissed.


     H. RICO


       Having discussed plaintiffs’ TVPA claims, the Court now turns

to DB Jane Doe’s claim that Deutsche Bank violated section 1962(c)

of    the   Racketeering      Influenced    and   Corrupt   Organizations    Act

(“RICO”), 18 U.S.C. §§ 1961 et seq., and conspired to violate RICO

in violation of section 1962(d).




                                       41
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 42 of 54



       There can no liability under section 1962(c) if the defendant

did not participate in the conduct of an enterprise. See DeFalco

v. Bernas, 244 F.3d 286, 306 (2d Cir. 2001) (to state a civil claim

under 18 U.S.C. 1962(c), a plaintiff must allege that a defendant

participated in “(1) conduct (2) of an enterprise (3) through a

pattern (4) of racketeering activity”) (quoting Sedima, S.P.R.L.

v. Imrex Co., 473 U.S. 479, 496 (1985)). To participate in a

racketeering enterprise under the relevant provisions of RICO, a

defendant must “direct the enterprise’s affairs.” Reves v. Ernst

& Young, 507 U.S. 170, 177, 180 (1993). While a defendant need not

play the “predominant” part in the operation of the enterprise, it

must   “exert”   some   “control”    over   it.   Dubai   Islamic   Bank   v.

Citibank, N.A., 256 F. Supp. 2d 158, 164 (S.D.N.Y. 2003).

       While DB Jane Doe does not precisely define the enterprise

that Deutsche Bank and Jeffrey Epstein allegedly formed (and this

itself would warrant dismissal of her RICO claims) her allegation

appears to be that Deutsche Bank participated in Jeffrey Epstein’s

sex trafficking venture. If that is Jane Doe’s allegation, her

substantive civil RICO claim fails, for she has not alleged that

Deutsche Bank controlled or directed that venture in any way.

       DB Jane Doe’s RICO conspiracy claim likewise fails, for she

has not alleged any factual basis for a finding of a “conscious

agreement among the defendants.” Hecht v. Commerce Clearing House,

Inc., 897 F.2d 21, 26 n. 4 (2d Cir. 1990). DB Jane Doe has not


                                     42
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 43 of 54



pled sufficient facts to support her allegation that Deutsche Bank

consciously agreed to undertake racketeering activity in violation

of section 1962 with Jeffrey Epstein. Instead, at most, she alleges

that Deutsche Bank acted unlawfully as part of an implicit quid

pro quo: Deutsche Bank would conceal Epstein’s sex-trafficking

venture in exchange for Epstein’s lucrative fees.

     Because DB Jane Doe fails to plausibly allege that Deutsche

Bank participated in a violation of section 1962(c), or that

Deutsche Bank consciously agreed to participate in one, Deutsche

Bank’s motion to dismiss DB Jane Doe’s civil RICO claims is

granted.


  I. CICO


     The USVI makes a similar allegation against JP Morgan, which

fails for similar reasons. The USVI claims that JP Morgan violated

the Virgin Islands Criminally Influenced and Corrupt Organizations

Act (“CICO”), the Virgin Islands’ territorial-law analogue to

RICO. But the USVI fails to plausibly allege two of the initial

elements of such a claim: that a criminal enterprise existed, and

that JP Morgan participated in it.

     The USVI alleges that JP Morgan’s association with Jeffrey

Epstein was a de facto enterprise. Any enterprise formed in this

way -- an “association-in-fact enterprise” -- must have three

features: a common purpose, relationships among those associated



                                   43
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 44 of 54



with the enterprise, and longevity to pursue the enterprise’s

purpose. People v. McKenzie, 66 V.I. 3, 12 (Super. Ct. 2017).

     The USVI, however, has failed to support its allegation that

JP Morgan shared a common purpose with Jeffrey Epstein. The USVI

does not allege that JP Morgan shared the purpose of trafficking

or abusing Epstein’s victims. Rather, the USVI alleges that the

purpose of JP Morgan’s association with Epstein was simply to make

money. If the USVI’s allegations are taken as true, achieving that

purpose did require JP Morgan to support Epstein’s sex-trafficking

venture. But neither human trafficking nor its consequences were

part of JP Morgan’s purpose; JP Morgan would have been just as

happy for Epstein’s victims to escape, so long as Epstein’s fees

continued to roll in.

     And even if JP Morgan did form an enterprise with Jeffrey

Epstein, the facts in the complaint do not support the USVI’s

allegation that JP Morgan participated in it. Like DB Jane Doe,

the USVI does not allege that JP Morgan conducted Epstein’s sex-

trafficking venture in any way. For that reason, and because the

USVI fails to plausibly allege an enterprise as well, JP Morgan’s

motion to dismiss the USVI’s CICO claim is granted.


  J. CFDBPA


     The last statutory claim brought against the defendants is

the USVI’s claim that JP Morgan violated the Virgin Islands



                                   44
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 45 of 54



Consumer Fraud and Deceptive Business Practices Act (“CFDBPA”).

The USVI alleges that JP Morgan gained an unfair advantage over

other, law-abiding banks by supporting Epstein’s sex-trafficking

venture. USVI FAC, ¶¶ 130-36. In exchange for JP Morgan’s support,

the USVI alleges, Epstein provided JP Morgan with “referrals of

high-value business opportunities.” Id. at ¶ 135.

     The USVI’s pleadings are threadbare. The USVI does not say

which banks, in particular, were denied the “high-value business

opportunities” that JP Morgan allegedly obtained. It does not

describe any connection between those banks and the Virgin Islands.

And it does not say that these banks actually did comply with their

legal obligations with respect to similarly-situated customers,

which is an essential aspect of the USVI’s unfairness claim. Thus,

the USVI’s allegations fall well short of making its CFBDPA claim

plausible, and JP Morgan’s motion to dismiss this claim is granted.


  K. Negligence


     JPM Jane Doe and DB Jane Doe and also assert several New York

state-law tort claims against JP Morgan and Deutsche Bank. Their

first set of such claims allege that JP Morgan and Deutsche Bank

were negligent. They allege that the banks failed to exercise

reasonable care to prevent physical harm and that the banks failed

to exercise reasonable care as banking institutions providing non-

routine banking services.



                                   45
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 46 of 54



       Under New York law (as under the law of virtually every

state), there are three elements of negligence: “(1) a duty owed

by the defendant to the plaintiff, (2) a breach thereof, and (3)

injury proximately resulting therefrom.” Solomon ex rel. Solomon

v. City of New York, 489 N.E.2d 1294 (N.Y. 1985). The parties

contest the first and the third elements, duty and proximate

causation.

       JP Morgan and Deutsche Bank say that they owed no duty to

Jane Doe. According the banks, they had no duty to prevent Jeffrey

Epstein from harming either Jane Doe, nor did they acquire any

duty of care from their banking relationship with Epstein. See In

re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 118, 126 (2d Cir.

2013) (“[B]anks and other financial institutions do not owe non-

customers a duty to protect them from the intentional torts of

their customers.”).

       But JP Morgan and Deutsche Bank, like everyone else, owed

both Jane Does the ordinary duty of reasonable care. This duty can

extend to actions undertaken by third parties. Restatement (Third)

of Torts: Phys. & Emot. Harm § 19 (“The conduct of a defendant can

lack reasonable care insofar as it foreseeably combines with or

permits the improper conduct of the plaintiff or a third party.”);

Ford   v.   Grand   Union   Co.,   197    N.E.   266,   268–69   (N.Y.    1935)

(defendant owes a duty to avoid injury to others “by forces set in

motion” by the defendant). Banks are not exempt from this duty.


                                     46
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 47 of 54



See Elmaliach v. Bank of China Ltd., 110 A.D.3d 192, 206 (N.Y.

App. Div. 2013) (“We do not find case law to support the argument

that . . . a bank can never be held liable to non-customers”); id.

at   206   (“[A]   tortfeasor’s    compliance    with      relevant   laws   and

regulations will not insulate it from liability if it fails to act

objectively reasonably”). And this duty applies when banks provide

nonroutine services. See id. at 207 (“Although New York does not

generally recognize a duty on the part of banks to non-customers,

that does not mean that New York policy would prohibit recovery

under the alleged facts, if proven.”). Since JPM Jane Doe and DB

Jane Doe do indeed allege that JP Morgan and Deutsche Bank helped

“set in motion” Jeffrey Epstein’s sex-trafficking venture -- by

providing the cash that fueled it -- they plausibly assert that JP

Morgan and Deutsche Bank owed a duty to them.

      JP Morgan and Deutsche Bank also contend that their conduct

is not a proximate cause of Jane Doe’s injury. When an alleged

injury is caused by an intervening criminal act, such as sexual

abuse, the defendant’s conduct is a proximate cause only when that

intervening act is “a natural and foreseeable consequence of a

circumstance created by [the] defendant.” Hain v. Jamison, 68 N.E.

3d 1233, 1236-37 (N.Y. 2016). “[P]roximate cause will be found

lacking where the original negligent act merely ‘furnished the

occasion for’ . . . ‘an unrelated act to cause injuries not

ordinarily    anticipated.’”      Id.   at   1238.   And    the   banks   assert


                                        47
        Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 48 of 54



(rehearsing arguments considered above) that they neither knew nor

should have known that their services contributed to the abuse of

the Jane Does.

     For the reasons already discussed above, however, JPM Jane

Doe and DB Jane Doe allege that JP Morgan and Deutsche Bank should

have known that their banking services sustained Jeffrey Epstein’s

sex-trafficking venture. Indeed, they go further and adequately

allege     that    the     defendants   actually   knew   this          or   at    least

recklessly        disregarded    what   was   plainly     to       be    seen.      Such

constructive knowledge plausibly makes harm to plaintiffs and

other     victims     of    Epstein’s   sex-trafficking        a        “natural     and

foreseeable” consequence of the actions of JP Morgan and Deutsche

Bank.

     Thus, the Court finds that JPM Jane Doe and DB Jane Doe

plausibly allege both that JP Morgan and Deutsche Bank owed a duty

to them, and that the banks proximately caused harm to them by

breaching that duty. Thus, the Court denies defendants’ motions to

dismiss plaintiffs’ negligence claims.


  L. Intentional Infliction of Emotional Distress


     JPM Jane Doe and DB Jane Doe also allege that JP Morgan and

Deutsche Bank        intentionally inflicted emotional distress                     upon

them. The elements of such a claim under here applicable New York

law are: “(1) extreme and outrageous conduct; (2) the intent to



                                        48
     Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 49 of 54



cause, or the disregard of a substantial likelihood of causing,

severe emotional distress; (3) causation; and (4) severe emotional

distress.” Eskridge v. Diocese of Brooklyn, 210 A.D.3d 1056, 1057

(N.Y. App. Div. 2022).

     At the outset, the Court notes that this cause of action is

“highly   disfavored”     and    “almost    never   successful.”     Sesto   v.

Slaine, 171 F. Supp. 3d 194, 201–02 (S.D.N.Y. 2016). That is

especially so when, as here, the plaintiff asserts a negligence

claim. Since almost all conduct that amounts to the intentional

infliction    of     emotional   distress     (“IIED”)    also    constitutes

negligence,    IIED    claims    are    routinely     dismissed    for   their

redundancy    with    negligence    claims.    See,    e.g.,     Wolkstein   v.

Morgenstern, 275 A.D.2d 635, 637 (N.Y. App. Div. 1st Dep’t. 2000)

(“Generally, a cause of action for infliction of emotional distress

is not allowed if essentially duplicative of tort or contract

causes of action.”); Samuel et al. v. Rockefeller Univ., 2022 WL

2916784, at *2 (N.Y. Sup. Ct. July 25, 2022) (dismissing IIED claim

as duplicative of negligence claim). So it is with the Jane Does’

IIED claims: if the conduct of JP Morgan and Deutsche Bank was

extreme and outrageous, and was intended to cause (or was made

with reckless disregard for) severe emotional distress, and in

fact caused severe emotional distress -- JP Morgan and Deutsche

Bank were thereby also liable for negligence. This alone is likely

sufficient grounds for dismissal.


                                       49
       Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 50 of 54



       Additionally, the plaintiffs fail to allege that JP Morgan

and Deutsche Bank “intentionally directed” their conduct at them.

Martin v. Citibank, N.A., 762 F.2d 212, 220 (2d Cir. 1985) (“The

conduct must also be intentionally directed at the plaintiff                . .

. .”). None of the plaintiffs’ allegations supports the inference

that either JP Morgan or Deutsche Bank directed their conduct at

JPM Jane Doe or DB Jane Doe specifically. Instead, they are alleged

to have financed Jeffrey Epstein, who then harmed JPM Jane Doe, DB

Jane Doe, and others. While the plaintiffs’ harm might have been

a foreseeable consequence of defendants’ actions, the allegations

in    the   complaints   do   not   support   the   inference   that   it   was

specifically directed toward them. For both of these reasons,

plaintiffs’ IIED claims are dismissed.


     M. Aiding and Abetting Battery


       Last, JPM Jane Doe and DB Jane Doe allege that JP Morgan and

Deutsche Bank aided and abetted the battery of them. They claim

that Jeffrey Epstein and his associates sexually abused them --

acts that amounted to battery -- and that the defendants supported

those wrongs.

       Under New York law, there are three elements of aiding and

abetting battery: “(1) a wrongful act producing an injury; (2) the

defendant’s awareness of a role as a part of an overall illegal or

tortious activity at the time he provides the assistance; and (3)



                                       50
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 51 of 54



the   defendant’s      knowing   and    substantial   assistance   in    the

principal violation.” Scollo ex rel. Scollo v. Nunez, 847 N.Y.S.2d

899 (Sup. Ct. 2007), aff’d, 60 A.D.3d 840 (N.Y. App. Div. 2009).

      The defendants focus on this last element: whether they

provided    “knowing    and   substantial    assistance”    to   those   who

battered the Jane Does. “Knowledge,” for these purposes, is actual

knowledge. Lerner v. Fleet Bank, N.A., 459 F.3d 273, 292 (2d Cir.

2006); JP Morgan Chase Bank v. Winnick, 406 F. Supp. 2d 247, 253

n.4 (S.D.N.Y. 2005) (“[T]he weight of the case law, cited above,

defines knowledge in the context of an aiding and abetting claim

as actual knowledge.”); Kolbeck v. LIT Am., Inc., 939 F. Supp.

240, 246 (S.D.N.Y. 1996), aff'd, 152 F.3d 918 (2d Cir. 1998) (“New

York common law, which controls the analysis here, has not adopted

a constructive knowledge standard for imposing aiding and abetting

liability. Rather, New York courts and federal courts in this

district,    have   required     actual     knowledge.”);   Steinberg     v.

Goldstein, 279 N.Y.S. 240, 242 (App. Div. 1967). “Substantial

assistance,” meanwhile, requires “commit[ting] some overt act,

either by words or conduct, in furtherance of” the battery of

Plaintiff. McKiernan v. Vaccaro, 91 N.Y.S.3d 478, 481 (App. Div.

2019); Lindsay v. Lockwood, 625 N.Y.S.2d 393, 397 (Sup. Ct. 1994).

That, in turn, requires “intentional or deliberate acts directed

at causing harm which would rise to the level of actionable conduct




                                       51
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 52 of 54



in relation to the subject assault.” Shea v. Cornell Univ., 192

A.D.2d 857, 858, 596 N.Y.S.2d 502, 503 (1993).

      As explained above, the complaints are devoid of facts which

support the allegation that the acts of JP Morgan and Deutsche

Bank were specifically and intentionally directed at causing harm

to   the   Jane   Does.    Thus,      the    defendants’      motions    to     dismiss

plaintiffs’ claims for aiding and abetting battery are granted.

III. Conclusion

      For the foregoing reasons, the Court hereby reconfirms its

rulings in its “bottom-line” order of March 20, 2023. Defendants’

motions to dismiss are therefore granted in part and denied in

part, as specified below:

      With respect to Jane Doe v. Deutsche Bank Aktiengesellschaft

et al., 22-cv-10018, the Court grants defendants’ motion to dismiss

with respect to Counts II, III, IV, V, VII, VIII, IX, and X of the

First Amended Complaint. The Court denies defendants’ motion with

respect    to   Counts    I,    VI,   XI,    and   XII   of    the    First     Amended

Complaint. Thus, for clarity, the following claims asserted by

plaintiff       Jane      Doe     against        defendants          Deutsche     Bank

Aktiengesellschaft, Deutsche Bank AG New York Branch, and Deutsche

Bank Trust Company Americas remain as part of the case: (1) the

claim that defendants knowingly benefited from participating in a

sex-trafficking venture, in violation of 18 U.S.C. § 1591(a)(2);




                                            52
      Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 53 of 54



(2)   the   claim   that   defendants       obstructed   enforcement   of   the

Trafficking Victims Protection Act, in violation of 18 U.S.C. §

1591(d); (3) the claim that defendants negligently failed to

exercise reasonable care to prevent physical harm; and (4) the

claim that defendants negligently failed to exercise reasonable

care as a banking institution providing non-routine banking. All

other claims are dismissed.

      With respect to Jane Doe v. JP Morgan Chase Bank, N.A., 22-

cv-10019, the Court grants defendant’s motion to dismiss with

respect to Counts I, II, VI, VII, VIII, and IX of the First Amended

Complaint. The Court denies defendant’s motion with respect to

Counts III, IV, V, and X of the First Amended Complaint. Thus, for

clarity, the following claims asserted by plaintiff Jane Doe

against defendant J.P. Morgan Chase Bank, N.A. remain as part of

the case: (1) the claim that defendant negligently failed to

exercise reasonable care to prevent physical harm; (2) the claim

that defendant negligently failed to exercise reasonable care as

a banking institution providing non-routine banking; (3) the claim

that defendant knowingly benefited from participating in a sex-

trafficking venture, in violation of 18 U.S.C. § 1591(a)(2); and

(4)   the   claim   that   defendant    obstructed       enforcement   of   the

Trafficking Victims Protection Act, in violation of 18 U.S.C. §

1591(d). All other claims are dismissed.




                                       53
        Case 1:22-cv-10904-JSR Document 130 Filed 05/01/23 Page 54 of 54



        With respect to Government of the United States Virgin Islands

v.     JP   Morgan   Chase    Bank,   N.A.,    22-cv-10904,    the   Court   grants

defendant's motion to dismiss with respect to Counts II, III, and

IV of the First Amended Complaint.                  The Court denies defendant's

motion with respect to Count I                of the First Amended Complaint.

Thus,       for clarity,     the claim of plaintiff the Government of the

United States Virgin Islands that defendant JP Morgan Chase Bank,

N.A.    knowingly benefited from participating in a sex-trafficking

venture,      in violation of 18 U.S.C.         §    1591 (a) (2), remains as part

of the case. All other claims are dismissed.

        SO ORDERED.


New York, NY
May _j__, 2023




                                          54
